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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  IN RE: INSULIN PRICING LITIGATION Case No. 2:23-md-03080 (BRM)(RLS)
                                    MDL No. 3080

  THIS DOCUMENT RELATES TO: ALL                      JUDGE BRIAN R. MARTINOTTI
  CASES                                              JUDGE RUKHSANAH L. SINGH


                              CASE MANAGEMENT ORDER #3

        This matter having come before the Court for an Initial Case Management Conference on

 September 12, 2023 (“September 12 CMC”), and the Court having entered Case Management

 Order #2 (ECF No. 19 (“CMO #2”)) requiring Plaintiffs’ counsel to meet and confer and submit a

 proposed leadership and liaison committee, the Court hereby finds and orders as follows:

   I.   BACKGROUND

        1.      Counsel for Plaintiffs in the above-captioned multidistrict litigation (“MDL”) and

 counsel for Plaintiffs in the “New Jersey Actions” (as defined in Case Management Order #1 (ECF

 No. 5 (“CMO #1”))), have advised the Court that they have: (a) met and conferred concerning the

 organization and orderly advancement of this MDL; and (b) considered all the relevant factors

 under Rule 23 of the Federal Rules of Civil Procedure and those set forth in the Manual for

 Complex Litigation, Fourth, concerning the appointment of counsel in a multi-party MDL such as

 this one.

        2.      As stated at the September 12 CMC, the Court finds that to efficiently progress the

 cases in this MDL, notwithstanding any subgrouping of actions, the parties in both the MDL and

 the New Jersey Actions shall coordinate in good faith and to the extent reasonably practicable for

 the purposes of discovery, in the MDL, the New Jersey Actions, and insulin-pricing litigation

 pending outside of this District, as will be further described in the parties’ subsequent case


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 coordination and discovery plan proposal.

        3.       On November 27, 2023, Plaintiffs submitted consensus recommendations to the

 Court for the appointment of Lead Counsel, Executive and Steering Committees, and Liaison

 Counsel for the proposed litigation tracks in this MDL.

        4.       The Court, having reviewed these submissions, and with no objections thereto

 having been filed, finds that the consensus recommendations present a balanced team with a

 diversity of backgrounds, skills, expertise, and prior casework and roles, all of which will provide

 the Court with an effective organizational structure to advance this MDL in an efficient and just

 manner and will advance the Court’s and the Judicial Panel on Multidistrict Litigation’s goal of

 introducing new and different counsel to this specialty area of practice.

        5.       While the cases in this MDL share common core factual allegations, these cases

 nevertheless diverge in certain respects, including as to: (a) the specific claims asserted; (b) the

 named Defendants against whom those claims are asserted (i.e., manufacturers alone or

 manufacturers together with pharmacy benefit managers (“PBMs”) and certain PBM affiliates);

 (c) whether those claims are asserted on an individual or class basis; and (d) the type of Plaintiffs

 asserting claims against these Defendants (e.g., payers, local governments, or states). Given these

 distinctions, Plaintiffs have proposed, and the Court hereby approves, the following separate

 litigation tracks and leadership structures for Plaintiffs responsible for the prosecution of the cases

 within those tracks:

                Self-Funded Payer Track

                State Attorney General Track

                Third-Party Payer Class Track




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           6.   The duties of Co-Lead Counsel, Executive Committees, and Steering Committees

 in each MDL litigation track are set forth below.

           7.   The appointments in this Order are personal. Accordingly, these appointees cannot

 be substituted by other attorneys, including members of such appointee’s law firm, except with

 Court approval.

     II.    MDL LITIGATION TRACKS

           1.   Self-Funded Payer Track

                a. The Self-Funded Payer Track shall include actions, such as those actions

                   identified on Exhibit A and any subsequent similar actions, brought

                   individually on behalf of self-funded payers or self-funded payer groups,

                   including local governments and subdivisions thereof (including county,

                   borough, municipality, city, town, township, parish, local public authority,

                   special district, intrastate district, council of governments, and agencies or

                   instrumentalities of multi-regional or intra-state or local government); unions;

                   schools and educational institutions; for-profit and non-profit organizations;

                   and other similar self-funded payers who pay for prescription drugs provided to

                   members of their health plan with prescription drug coverage. Any putative

                   class action filed by any of the foregoing entities will be included within the

                   Third-Party Payer Class Track.1

                b. The Court appoints David Buchanan of Seeger Weiss LLP; Brandon Bogle of

                   Levin Papantonio Rafferty Proctor Buchanan O’Brien Barr Mougey, P.A.;


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  Co-Lead Counsel for the Self-Funded Payer Track and the Third-Party Payer Class Track have
 conferred and agreed that the putative class case filed by Jackson County, Missouri (No. 23-cv-
 04531) will be included in the Self-Funded Payer Track.


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               Benjamin Widlanski of Kozyak Tropin & Throckmorton LLP; and Mark Pifko

               of Baron & Budd, P.C. as Co-Lead Counsel for the Self-Funded Payer Track.

            c. The Court appoints the following attorneys to the Executive Committee for the

               Self-Funded Payer Track: Ben Crump of Ben Crump Law; David Ko of Keller

               Rohrback LLP; Melody Dickson of Wagstaff & Cartmell LLP; Hunter Shkolnik

               of NS PR Law Services, LLC; Jayne Conroy of Simmons Hanly Conroy LLP;

               Natalia Salas of The Ferraro Law Firm; and Virginia Anello of Douglas &

               London PC.

            d. The Court appoints the following attorneys to the Steering Committee for the

               Self-Funded Payer Track: Gregory Cade of Environmental Litigation Group

               PC; Pearl Robertson of Irpino Avin & Hawkins; Juan Martinez of Morgan &

               Morgan; Mark Dearman of Robbins Geller Rudman & Dowd LLP; Dara Hegar

               of The Lanier Law Firm; Caitlyn Miller of Aylstock Witkin Kreis & Overholtz

               PLLC; Dan Goetz of Weisman Kennedy & Berris Co. LPA; Joyce Reichard of

               Kelley Ferraro LLC; Greg Stamatopoulos of Weitz and Luxenberg, P.C.; and

               Ronnie Spiegel of Joseph Saveri Law Firm LLP.

       2.   State Attorney General Track

            a. The State Attorney General Track (“State AG Track”) shall include actions

               brought on behalf of sovereign states, such as those actions identified on Exhibit

               B, regardless of the types of claims asserted by such state or the Defendants

               against whom those claims are asserted.

            b. The Court appoints Joanne Cicala of The Cicala Law Firm PLLC; Lawrence

               Deas of Liston & Deas PLLC; Russell Budd of Baron & Budd, P.C.; Troy



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               Rafferty of Levin Papantonio Rafferty Proctor Buchanan O’Brien Barr

               Mougey, P.A.; and Trey Watkins of Forman Watkins & Krutz LLP as Co-Lead

               Counsel for the State AG Track.

       3.   Third-Party Payer Class Track

            a. The Third-Party Payer Class Track (“TPP Class Track”) shall include putative

               class actions brought on behalf of Third-Party Payers alleging class claims

               against Defendants, including but not limited to those actions identified on

               Exhibit C. The TPP Class Track shall not include any individual action within

               the Self-Funded Payer Track.

            b. Pursuant to Federal Rule of Civil Procedure 23(g), the Court appoints James

               Cecchi of Carella, Byrne, Cecchi, Brody & Agnello, P.C. and Steve Berman of

               Hagens Berman Sobol Shapiro LLP as Interim Class Counsel/Co-Lead Counsel

               for the TPP Manufacturer Class.

            c. Pursuant to Federal Rule of Civil Procedure 23(g), the Court appoints Michael

               Roberts of Roberts Law Firm US, PC and Melissa L. Yeates of Kessler Topaz

               Meltzer & Check, LLP as Interim Class Counsel/Co-Lead Counsel for the TPP

               PBM Class.

            d. The Court appoints Hannah Brennan of Hagens Berman Sobol Shapiro LLP;

               Donald Ecklund of Carella, Byrne, Cecchi, Brody & Agnello, P.C.; James R.

               Dugan, II of the Dugan Law Firm; Dianne Nast of NastLaw, LLC; Don Barrett

               of Barrett Law Group, PA; Karen Halbert of Roberts Law Firm US, PC; Joseph

               P. Guglielmo from Scott + Scott Attorneys at Law LLP; and Janpaul Portal of

               MSP Recovery Law Firm to the Steering Committee for the TPP Class Track.



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  III.    THE NEW JERSEY ACTIONS

         1.      In the New Jersey Actions (as defined in CMO #1), the parties have engaged in

 discovery and motion practice and are more procedurally advanced than the actions now formally

 included within this MDL. These New Jersey Actions include: (a) the Indirect Purchaser Consumer

 Action (as defined in CMO #1), In re Insulin Pricing Litigation, No. 17-cv-00699; (b) MSP

 Recovery Claims, Series, LLC v. Sanofi Aventis U.S. LLC, et al., No. 18-cv-02211; (c) Minnesota

 v. Sanofi-Aventis U.S. LLC, et al., No. 18-cv-14999; and (d) the Direct Purchaser Consumer Action

 (as defined in CMO #1), In re Direct Purchaser Insulin Pricing Litigation, No. 20-cv-03426.

         2.      Counsel previously appointed and/or otherwise representing these Plaintiffs in the

 existing New Jersey Actions shall continue to manage those actions in accordance with the Court’s

 existing leadership orders and need not seek reappointment.

  IV.     DUTIES OF PLAINTIFFS’ CO-LEAD COUNSEL

         1.      Plaintiffs’ Co-Lead Counsel in each MDL litigation track shall have ultimate

 responsibility for managing and directing the litigation on behalf of their clients in such track. Such

 duties include conducting the litigation and coordinating and directing the efforts of any

 committees identified above or which Plaintiffs’ Co-Lead Counsel form (in their sole discretion)

 to assist them in prosecuting their clients’ claims within their tracks. Plaintiffs’ Co-Lead Counsel

 shall also have the authority to conduct settlement negotiations and settle the claims only of the

 clients within their respective tracks. In addition, Co-Lead Counsel in each MDL litigation track

 shall work to efficiently coordinate discovery among these tracks and with the New Jersey Actions.

 Subject to the coordination of discovery described herein, Plaintiffs’ Co-Lead Counsel within each

 litigation track shall maintain responsibility to:



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            a. Discovery

                 i.   Initiate, coordinate, and conduct all pretrial discovery on behalf of all

                      Plaintiffs in their respective MDL litigation track who file actions in this

                      Court or whose actions are transferred to this Court pursuant to 28

                      U.S.C. § 1407 as related to this In re Insulin Pricing Litigation MDL.

                           A.    Develop and propose to the Court schedules for the

                                 commencement, execution, and completion of all discovery

                                 on behalf of all Plaintiffs.

                           B.    Initiate, coordinate, and cause to be issued in the name of all

                                 Plaintiffs the necessary discovery requests, motions, and

                                 subpoenas pertaining to any information, documents, or

                                 witnesses needed to properly prepare for the pretrial of

                                 relevant issues found in the pleadings of this litigation.

                           C.    Conduct all discovery in a coordinated, efficient, and

                                 consolidated manner on behalf and for the benefit of all

                                 Plaintiffs.

                           D.    Coordinate with Plaintiffs’ Co-Lead Counsel from the other

                                 litigation tracks to ensure the overall efficient prosecution of

                                 this MDL, including by endeavoring to, inter alia,

                                 coordinate to reduce duplication of discovery, facilitate the

                                 sharing of information, manage the orderly conduct of

                                 discovery from all Defendant groups, and liaise with the

                                 Court to facilitate the sharing of information.



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                b. Motion Practice, Hearings, and Meetings

                       i.   Submit any motions presented to the Court on behalf of all Plaintiffs as

                            well as oppose, when necessary, any motions submitted by the

                            Defendants or third parties.

                      ii.   Call meetings of counsel for Plaintiffs for any appropriate purpose,

                            including coordinating responses to questions of other parties or the

                            Court.

                     iii.   Initiate proposals, suggestions, schedules, joint briefs, and any other

                            appropriate matters pertaining to pretrial proceedings.

                     iv.    Examine or designate other counsel to examine witnesses and introduce

                            evidence at hearings on behalf of Plaintiffs.

                c. Communications With Defense Counsel

                       i.   Initiate, coordinate, and conduct requisite meet and confers with

                            Defendants, confer with Defendants regarding procedural matters, and

                            negotiate and enter stipulations with Defendants regarding this

                            litigation.

                      ii.   Explore or designate other counsel to explore, develop, and pursue

                            settlement options with Defendants on behalf of Plaintiffs on behalf of

                            their track.

        2.      Nothing herein shall be construed to preclude the Plaintiffs’ Co-Lead Counsel from

 agreeing to permit attorneys not appointed from assisting with the conduct of this litigation.

   V.    DUTIES OF PLAINTIFFS’ EXECUTIVE AND STEERING COMMITTEES

        1.      Plaintiffs’ Executive Committees and Steering Committees shall assist Plaintiffs’



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 Co-Lead Counsel within their respective MDL litigation track with Plaintiffs’ Co-Lead Counsel’s

 duties outlined in Section IV above, as delegated by Plaintiffs’ Co-Lead Counsel.

     VI.    DUTIES OF PLAINTIFFS’ LIAISON COUNSEL DESIGNEES

           1.   The Court hereby directs each MDL litigation track to designate one attorney to

 serve as Plaintiffs’ Liaison Counsel. Liaison Counsel for the Third-Party Payer Class Track shall

 also serve as liaison counsel for the New Jersey Actions, by consent of the parties to those actions.

 Each designated Plaintiffs’ Liaison Counsel shall be identified and provided to the Court within

 one week of the date that this Order is entered.

           2.   The role of Plaintiffs’ Liaison Counsel shall be limited to administrative functions

 such as receiving court orders; coordinating service and filings; distributing motions, pleadings,

 and other filings; maintaining and distributing to co-counsel and opposing counsel an up-to-date

 service list; participating in all conferences convened by the Court and communicating the

 substance of such conferences to their respective co-counsel; and carrying out such other

 administrative duties as the Court may Order or request.

           3.   All communications with the Court2 on behalf of Plaintiffs should be through

 Plaintiffs’ Co-Lead Counsel for the respective MDL litigation track or designated Plaintiffs’

 Liaison Counsel. If circumstances require direct correspondence with the Court by an individual

 counsel or a member of the Plaintiffs’ Executive or Steering Committees, copies of any said

 communications shall simultaneously be served on all designated Plaintiffs’ Liaison Counsel.

           4.   The parties shall meet and confer to designate counsel who will be responsible for

 submitting weekly MDL status reports to the Court by 3:00 PM EST every Friday, unless


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   As a reminder, when communicating with the Court, the parties should use the email addresses
 listed in CMO #1 (ECF No. 5): Chambers_of_Judge_Brian_Martinotti@njd.uscourts.gov and
 rls_orders@njd.uscourts.gov.


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 otherwise ordered.

  VII.    UPCOMING MDL CASE MANAGEMENT CONFERENCES

         1.    As mentioned at the November 28, 2023 Case Management Conference, unless

 otherwise scheduled, case management conferences (“CMCs”) for this MDL will be held on the

 following dates in 2024:

               a. January 9, 2024

               b. February 13, 2024

               c. March 12, 2024

               d. April 9, 2024

               e. May 14, 2024

               f. June 11, 2024

               g. July 9, 2024

               h. August 13, 2024

               i. September 10, 2024

               j. October 8, 2024

               k. November 12, 2024

               l. December 10, 2024


  IT IS SO ORDERED.


                                                 /s/ Brian R. Martinotti
                                                 BRIAN R. MARTINOTTI
                                                 UNITED STATES DISTRICT JUDGE
 Dated: December 5, 2023




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                                  Exhibit A




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                                  Exhibit B




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                                  Exhibit C




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